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               5    Attorneys for Defendant
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               6

               7

               8                                  UNITED STATES DISTRICT COURT
               9                                  EASTERN DISTRICT OF CALIFORNIA
             10
                    UNITED STATES OF AMERICA,                        CASE NO. S-02-0079-FCD
             11
                                    Plaintiff,                       ORDER EXONERATING BOND
             12
                             v.
             13
                    DARRA N. PANTHAKY and WESLEY
             14     SINE,
             15                     Defendants.
             16

             17              By order of this Court, defendant Wesley Sine was released on bail pending sentencing.

             18     On August 5, 2005, Mr. Sine reported to the United States District Court for the Eastern District

             19     for entry of judgment and sentencing. On that date, judgment was entered, a sentence was

             20     imposed, and Mr. Sine was remanded, having complied with the terms and conditions of his

             21     release. Good cause appearing therefore,

             22              IT IS HEREBY ORDERED THAT the bond is exonerated in this case. The Clerk of the

             23     Court for the Eastern District of California is further ordered to immediately reconvey any deeds

             24     of trust and/or property encumbrances securing Mr. Sine’s release, specifically including any trust

             25     or encumbrance on the following properties:

             26     447-449 East Williams Avenue                      824 Terrace Hill Drive
                    Salt Lake City, UT 84103                          Salt Lake County, UT 84103
             27
                    and
             28
                                                                    -1-
DLA PIPER RUDNICK   SA\8056491.1
GRAY CARY US LLP    358279-1
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               1    420 E. South Temple Street
                    Salt Lake City, UT 84111
               2

               3             The Clerk of the Court is further ordered to release Mr. Sine’s passport.

               4             IT IS SO ORDERED.

               5    Dated: August 9, 2005                          /s/ Frank C. Damrell Jr.
                                                                   HONORABLE FRANK C. DAMRELL, JR.
               6                                                   UNITED STATES DISTRICT JUDGE

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